                               UNITED STATES COURT OF APPEALS
                                          FOR THE
                                       SECOND CIRCUIT

                At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
        Thurgood Marshall United States Courthouse, 40 Foley Square, in the City ofNew York, on the
        19th day of April, two thousand twenty-three.

       Before:         Beth Robinson,
                             Circuit Judge.


        Alvin L. Bragg, Jr., in his official capacity as
        District Attorney for New York County,                      ORDER
                      Plaintiff - Appellant,                        Docket No.   23- (o/5 -1-
                                                                                 23- (of"- con
        V.

        Mark F. Pomerantz,

                     Defendant - Appellant,

        V.

        Jim Jordan, in his official capacity as Chairman of
        the Committee on the Judiciary, Committee on
        the Judiciary of the United States House of
        Representatives,

                     Defendants - Appellees.



              Alvin L. Bragg and Mark F. Pomerantz appeal from a district court order denying a
       temporary restraining order enjoining enforcement of a subpoena issued to Mr. Pomerantz by the
       United States House of Representatives Judiciary Committee. The subpoena return date is April
       20, 2023 at I 0:00 a.m.

              Appellants have filed an emergency motion seeking an interim administrative stay and a
       stay pending appeal of the return date of the subpoena. Appellees oppose the motion.

               IT IS HEREBY ORDERED, that an administrative stay of the return date of the
       subpoena is granted so that a three-judge panel may consider the motion seeking a stay pending
       appeal of the district court's order. This order reflects no judgment regarding the merits of the
       parties' respective positions.




CERTIFIED COPY ISSUED ON 04/20/2023
        Appellees' papers in response to the motion are due April 21, 2023 at 3:00 p.m. The reply
is due April 22 at 3 :00 p.m. The Clerk is directed to calendar the motion for the first available
panel.


                                                    For the Court:

                                                    Catherine O'Hagan Wolfe,
                                                    Clerk of Court
